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                        EXHIBIT 8
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DEPARTMENT OF HEALTH & HUMAN SERVICES
Centers for Medicare & Medicaid Services
7500 Security Boulevard, Mail Stop S2-14-26
Baltimore, Maryland 21244-1850

Disabled and Elderly Health Programs Group



March 12, 2019

Kathy A. Schaefer
Senior Vice President, Finance and Corporate Controller
Mallinckrodt Pharmaceuticals
1425 U.S. Route 206
Bedminster, New Jersey 07921

Dear Ms. Schaefer:

We thank Mallinckrodt Pharmaceuticals (Mallinckrodt) for meeting with us on March 7, 2019 to
present its position regarding the base date Average Manufacturer Price (AMP) of H.P. Acthar
Gel.

As we have said in our prior communications of April 13, 2016, June 2, 2016, and March 20,
2017, and as we reiterated at the March 7th meeting, the base date AMP of H.P. Acthar Gel
should reflect the base date AMP for the drug that was first produced or distributed under new
drug application (NDA) 008372. Because H.P. Acthar gel is currently, and always has been,
produced or distributed under NDA 008372, the base date AMP Mallinckrodt is reporting to the
Drug Data Reporting for Medicaid (DDR) system does not reflect the appropriate base date
AMP, and Mallinckrodt has been underpaying Medicaid rebates for H.P. Acthar Gel.


We are enclosing a template for you to complete and return to ruth.blatt@cms.hhs.gov in order
for Mallinckrodt to report the correct baseline information to the Medicaid Drug Rebate
Program.

                                                   Sincerely,

                                                     /s/

                                                   John M. Coster, Ph.D, RPh
                                                   Director, Division of Pharmacy

cc: Alice Valder Curran


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